
69 P.3d 1027 (2003)
The STATE ENGINEER, Division Engineer for Water Division 1, and The Colorado Water Conservation Board, Opposers-Appellants,
v.
The CITY OF GOLDEN, Applicant-Appellee.
No. 01SA252.
Supreme Court of Colorado, En Banc.
May 19, 2003.
Ken Salazar, Attorney General, Steven O. Sims, Assistant Attorney General, Susan J. Schneider, Assistant Attorney General, Natural Resources and Environment Section Denver, Colorado, Attorneys for Opposers-Appellants.
Porzak Browning &amp; Bushong LLP, Glenn E. Porzak, Steven J. Bushong, P. Fritz Holleman, Boulder, Colorado, Attorneys for Applicant-Appellee.
Fischer, Brown &amp; Gunn, P.C., William H. Brown, Fort Collins, Colorado, Attorneys for Amici Curiae Cache La Poudre Water Users Association and Thompson Water Users Association.
Hill &amp; Robbins, P.C., David W. Robbins, Dennis M. Montgomery, Denver, Colorado, Attorneys for Amici Curiae Rio Grande Water Conservation District, the Southwestern Water Conservation District, the Dolores Water Conservancy District, the Jackson County Water Conservancy District, and the Colorado Water Congress.
Maynes Bradford Shipps &amp; Sheftel, Frank E. Maynes, Durango, Colorado, Attorneys for Amici Curiae Southwestern Water Conservation District and the Dolores Water Conservancy District.
Patricia L. Wells, Denver, Colorado, Attorney for Amicus Curiae City and County of Denver, by and through its Board of Water Commissioners.
Lind Lawrence &amp; Ottenhoff LLP Kim R. Lawrence Greeley, Colorado, Attorneys for Amici Curiae Central Colorado Water Conservancy District, the Groundwater Management Subdistrict of the Central Colorado Water Conservancy District, and the Lower South Platte Water Conservancy District.
Burns, Figa &amp; Will, P.C., Lee E. Miller, Englewood, Colorado, Attorneys for Amicus Curiae Colorado Farm Bureau.
Carlson Hammond &amp; Paddock LLC, William A. Paddock, Denver, Colorado, Attorneys for Amicus Curiae Rio Grande Water Users Association.
Peter C. Fleming, Jill C.H. McConaughy, Leavenworth &amp; Karp, P.C., David C. Hallford, Glenwood Springs, Colorado, Attorneys for Amicus Curiae Colorado River Water Conservation District.
Hill, Edwards, Edwards &amp; Kinney, LLC, Tom Kinney, Carbondale, Colorado, Attorneys for Amicus Curiae Town of Basalt.
Trout, Witwer &amp; Freeman, P.C., Mark T. Pifher, Douglas M. Sinor, Denver, Colorado, Attorneys for Amici Curiae Colorado Springs Utilities, Northern Colorado Water Conservancy District and Municipal Subdistrict, Northern Colorado Water Conservancy District.
Burns, Figa &amp; Will, P.C., Lee E. Miller, Englewood, Colorado, Attorneys for Amicus Curiae Southeastern Colorado Water Conservancy District.
Duncan, Ostrander &amp; Dingess, P.C., John M. Dingess, Denver, Colorado, Attorneys for Amicus Curiae City of Aurora, acting by and through its Utility Enterprise.
Holland &amp; Hart LLP, Anne J. Castle, Christopher L. Thorne, Thomas J. Florczak, Denver, Colorado, Attorneys for Amicus Curiae Pueblo, a Municipal Corporation.
Petros &amp; White LLC, Raymond L. Petros, Jr., Denver, Colorado, Attorneys for Amicus Curiae Longmont, a Municipal Corporation.
Sullivan Green Seavy, LLC, Barbara J.B. Green, Boulder, Colorado, Northwest Colorado Council of Governments, Taylor E.C. Hawes, Silverthorne, Colorado, Attorneys for *1028 Amicus Curiae Northwest Colorado Council of Governments.
Timothy H. Berry P.C., Timothy H. Berry, Leadville, Colorado, Attorneys for Amicus Curiae the Town of Breckenridge.
Holland &amp; Hart LLP, Anne J. Castle, Denver, Colorado, Attorneys for Amicus Curiae Town of Minturn.
Taylor E.C. Hawes, Silverthorne, Colorado, Attorney for Amicus Curiae Town of Montezuma.
J. Matthew Mire, Vail, Colorado, Attorney for Amicus Curiae Town of Vail.
John M. Ely, Aspen, Colorado, Attorney for Amicus Curiae Pitkin County.
Summit County Attorney's Office, Jeffrey L. Huntley, Breckenridge, Colorado, Attorneys for Amicus Curiae Summit County.
Porzak Browning &amp; Bushong LLP, Glenn E. Porzak, Steven J. Bushong, P. Fritz Holleman, Boulder, Colorado, Attorneys for Amici Curiae Clinton Ditch &amp; Reservoir Company, Eagle Park Reservoir Company, and Vail Resorts, Inc.
Collins Cockrel &amp; Cole, James P. Collins, Denver, Colorado, Attorneys for Eagle River Water &amp; Sanitation District, and Upper Eagle Regional Water Authority.
Eagle County Attorney's Office, Robert Thomas Moorhead, Eagle, Colorado, Attorneys for Amicus Curiae Eagle County.
Gunnison County Attorney's Office, David M. Baumgarten, Gunnison, Colorado, Attorneys for Amicus Curiae Gunnison County.
Trout Unlimited, Melinda R. Kassen, Boulder, Colorado, Attorneys for Amicus Curiae Trout Unlimited.
Kathleen C. Zimmerman, Boulder, Colorado, Attorneys for Amici Curiae High Country Citizens Alliance, San Juan Citizens Alliance, Colorado River Outfitters Association, American Canoe Association, Professional Paddlesports Association, and America Outdoors.
City of Grand Junction, Daniel E. Wilson, Grand Junction, Colorado, Brownstein, Hyatt &amp; Farber, P.C., James S. Lochhead, Glenwood Springs, Colorado, Attorneys for Amicus Curiae City of Grand Junction.
Chief Justice MULLARKEY, Justice MARTINEZ, and Justice BENDER are of the opinion that the judgment of District Court, Water Division 1 should be affirmed, whereas Justice KOURLIS, Justice RICE and Justice COATS are of the opinion that it should be reversed.
Since the court is equally divided, the judgment of District Court, Water Division 1 is affirmed by operation of law. C.A.R. 35(e).
Justice HOBBS does not participate.
